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                          UNITED STATES DISTRICT COURT
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                         CENTRAL DISTRICT OF CALIFORNIA
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 10    MARCO ANTHONY DE LA CRUZ,                Case No. 2:21-cv-1977-JGB (MAR)
 11                           Petitioner,
 12                      v.                     JUDGMENT
 13    MARCUS PALLARD,
 14                           Respondent.
 15
 16
 17         Pursuant to the Order Accepting Findings and Recommendation of United
 18   States Magistrate Judge, IT IS HEREBY ADJUDGED that this action is
 19   DISMISSED without prejudice.
 20
 21   Dated: November 29, 2021
 22
                                            HONORABLE JESUS G. BERNAL
 23
                                            United States District Judge
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